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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


APRIL CANADY,                                 §      No. 6:24-cv-407
       Plaintiff,                             §
                                              §
                                              §      Civil Action No.
                                              §
AGERO, INC.                                   §      Jury Trial Demanded
       Defendants.                            §


                      PLAINTIFF'S ORIGINAL COMPLAINT


       NOW COMES APRIL CANADY, PLAINTIFF and makes and files this her

Complaint against AGERO, INC., in the above styled matter, and in support thereof,

would respectfully show unto the court the following:



                             JURISDICTION AND VENUE

1. This Court has jurisdiction of the action under the Americans With Disabilities Act of

1990, and as amended. Venue is proper in this judicial district under this statute because

Bell County, Texas is where all or a substantial part of the events or omissions giving

rise to the cause of action herein occurred. Plaintiff seeks compensation in excess of

$75,000.

2. Plaintiff is April Canady, an individual who resides in Bell County, Texas. Defendant

AGERO, Inc. is a corporation formed, created and operated in the State of Massachusetts,

and does business in Bell, County, Texas. Service of process may be performed by
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serving Mr. Dave Ferrick, President and CEO, at 400 Rivers Edge Dr, Medford, MA

02155.

3. Agero, Inc. is a "person" within the meaning of the Americans With Disabilities Act of

1990, and as amended. and an "employer" within the meaning of Americans With

Disabilities Act of 1990, and as amended,

4. The Equal Employment Opportunity Commission ("EEOC") received a timely charge

filed by April Canady on or about September 26, 2021 and an amended charge on or

about March 21, 2022. In her charge and amended charge, Canady alleged that she had

been discriminated against based on her disabilities. Canady began to experience

exacerbations of her qualifying disability and made her trainer aware. Canady

subsequently requested reasonable accommodations on or about September 21, 2021 and

on September 23, 2021. Canady submitted a secondary request for a reasonable

accommodation. Shortly thereafter a human resources Representative terminated

Canady’s employment referring to Canady’s “inability to continue working without

reasonable accommodation.” Canady then filed her original charge of discrimination with

the EEOC on September 26, 2021. Canady also alleged that she was discriminated

against contrary to the law as set forth under the ADA because she was not given a

reasonable accommodation and subsequently, her employment was terminated. The

EEOC investigated the charge, and made no determination as to the merits of Plaintiff’s

claims that she was discriminated against in violation of the ADA.

5. All conditions precedent to the filing of suit have been performed or have occurred.
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                                FACTUAL ALLEGATIONS


6. Canady began her employment with Agero on or about September 8, 2021, as a

customer Service Representative and began her training on September 13, 2021. TDCJ in

early August 2014. During her training, problems with her disabilities, specifically

Scleroderma and Drop Head Syndrome, med it difficult to comply with directions from

her trainer. Accordingly, on September 21, 2021, Canady spoke with the trainer and

advised the trainer that she needed an accommodation, based on her disabilities, in order

to continue the training. Then on September 23, 2021, Canady submitted a formal request

for a reasonable accommodation to her trainer, who then forwarded said request to the

Human Resources Department. Shortly thereafter, Canady’s employment was terminated

by the Human Resources representative citing Canady’s “inability to continue working

without reasonable accommodation.”



7. On September 26, 2021 the first EEOC charge was filed by Canady. Then on

November 5, 2021 received a termination letter from Agero which indicated that Canady

had resigned her employment because of “Health Reasons.” Although Canady did not

resign, she received another letter from Agero which stated that Canady had resigned and

stated that the ”reason for resignation is health issue.”



8. Later, in November of 2021, Canady was contacted by the Human Resources Director

and re-offered her position with Agero. Canady indicated she would like to return, but

she needed to have the reasonable accommodation request addressed and resolved before
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she could come back. This issue went unresolved although Canady tried to get it

resolved, until Agero rescinded its offer for reemployment on January 21, 2022.

                   AMERICANS WITH DISABILITIES ACT (ADA)

Plaintiff re-alleges and incorporates by reference the allegations set forth in paragraphs 1-

8, above.



9. The Americans With Disabilities Act prohibits discrimination against a “qualified

individual” with a disability because of the disability. This protection includes job

applications, hiring, advancement, discharge, compensation, job training and other terms,

conditions and privileges of employment. A “qualified individual” is an individual with a

disability who, with or without reasonable accommodation, can perform the essential

functions of the employment position that such individual holds or desires.



10. In order to establish a claim under the ADA, Canady must demonstrate that :



       (a) she is disabled;

       (b) she was a qualified individual at all relevant times, meaning she could

            perform the essential functions of the job in question with or without

            reasonable accommodations; and

       (c) She was discriminated against because of her disability.

11. Canady suffers from multiple qualifying disabilities as defined by the ADA. She

suffers from Drop Head Syndrome and Scleroderma which impair her ability to raise her

head and arms quickly without severe pain.
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12. She sought a reasonable accommodation to make it easier to raise her head and arms

in the form of an elevated chair. No such accommodation was ever given by Agero.



13. Canady’s employment was terminated by Agero after her request for a reasonable

accommodation for “health issues.”



14. Canady was retaliated against by Agero for engaging in a protected activity. As a

qualified individual under the ADA, Canady has the right to request a reasonable

accommodation to allow her to effectively perform her work assignments. Although she

did make a request for a reasonable accommodation, her employment was terminated by

Agero. Canady never resigned from her employment, but Agero took the position that

Canady did resign, by citing various reason for her “resignation.” Such various reasons

included “inability to continue working without reasonable accommodation” and “health

issues.”. Agero discriminated against Doerr for engaging in protected activity in

violation of Section 704(a) of Title VII, 42 U.S.C. §§12102 et seq.



                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, April Canady prays that the Court grant the

foIlowing relief: (a) Enjoin Defendant Agero from: a. subjecting employees to

discrimination and harassment based on qualified disabilities as defined by the ADA.;

and b. retaliating against employees who engage in activity protected under the ADA;

and c. Discriminating against those with disabilities; Order Defendant Agero to develop

and implement appropriate and effective measures designed to prevent discrimination,
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harassment, and retaliation, including but not limited to policies and training for

employees and managers; d. Order Defendant Agero to develop appropriate and effective

measures to receive complaints of discrimination, harassment, and retaliation as well as a

process for investigating such complaints; (e) Award compensatory damages to April

Canady to fully compensate her for all of her injuries and financial losses caused by

Defendant Agero’s discriminatory, harassing, and retaliatory conduct, pursuant to and

within the statutory limitations of the ADA and the Civil Rights Act of 1991,42 U.S.C. §

1981 a; and (e) Award such additional relief as justice may require, together with costs

and disbursements and reasonable and necessary attorneys fees in this action.

                                     JURY DEMAND

       April Canady hereby demands a trial by jury of her peers of all issues pursuant to

Rule 38 of the Federal Rules of Civil Procedure, the ADA and Section 102 of the Civil

Rights Act of 1991, 42 U.S.C. § 1981 (a).

                                              Respectfully submitted,


                                                      /s/Scott V. Allen
                                                      Scott V. Allen
                                                      SBN: 01058010

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